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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS
MARSHALL DIVISION

JAMES ALLEN McKEE PLAINTIFF

v. Case No.

VIRGIL WAYNE GRANTHAM and
J & S EXCHANGE, INC. DEFENDANTS
C 0 M P L A I N T

Comes now the Plaintiff, J ames Allen McKee, by and through his attorneys, Price Law Firm
and The Boswell Law Firm, and for his Complaint against the Defendants, Virgil Wayne Grantham
and J & S Exchange, Inc., states and alleges:

I. JURISDICTION, VENUE, AND PARTIES

l. This is a tort action alleging negligence and bodily injuries, predicated upon this
Court’s jurisdiction to hear claims involving citizens of different states, pursuant to 28 U.S.C. §
1332(a)(l). Complete diversity of citizenship exists as to the parties herein. Venue is proper,
pursuant to 28 U.S.C. § l39l(a)(2), in that a substantial part of the events or omissions giving rise
to the claim occurred in this judicial district.

2. Plaintiff, Jarnes Allen McKee, resides at 1906 County Road 1807, Yantis, Texas
75497-3124.

3. Upon information and belief, Separate Defendant, Virgil Wayne Grantham, resides
at Route 4, BoX 11395; Eufala, Oklahoma 74432.

4. Upon information and belief, Separate Defendant, J & S Exchange, lnc., is an
Oklahoma-based corporation With its principal place of business at 6970 County Road 37 03, Allen,

Oklahoma 74825, (or alternatively, at 6860 County Road 3703, Allen, Oklahoma 74825). lts agent

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of service is Joe T. Nemecek, Route 3, Box 170, Ada, Oklahoma, 74820.
II. STATEMENT OF FACTS

5. Plaintiff incorporates herein by reference the allegations contained in paragraph Nos.
l through 4.

6. On February 15, 2016, the Plaintiff, James Allen McKee, was operating a pickup
truck in a northerly direction on Highway 154 South in Hopkins County, Texas. Suddenly and
without warning, a tractor trailer traveling in the southbound lane entered the northbound lane in
front of the Plaintiff, causing a violent head-on collision. The driver of this tractor trailer was
Separate Defendant, Virgil Wayne Grantham.

7. As a direct and proximate result of this violent impact, Mr. McKee was seriously
injured. Mr. l\/IcKee had to be extricated from the vehicle by first responders using the “Jaws of
Life.” Mr. McKee suffered injuries to his ribs, right leg, left arm, and miscellaneous bruises and
abrasions to the body as a whole. Moreover, his left arm was partially amputated. He also suffered
puncture wounds throughout his body, due to the metal debris.

III. ACTS ()F NEGLIGENCE BY VIRGIL WAYNE GRANTHAM

8. Plaintiff incorporates herein by reference the allegations contained in paragraph Nos.
l through 7.

9. Plaintiff respectfully submits that the negligence of Virgil Wayne Grantham was a
proximate cause of the accident resulting in Plaintiff’ s injuries and damages Said negligence
consisted of, but was not limited to, the following:

(a) Failure to keep a proper lookout for other drivers on the road;
(b) Failure to keep the vehicle that he was driving under control;

(c) Driving at a speed that was greater than is reasonable and prudent

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under the conditions and having no regard to the actual and potential
hazards then existing;

(d) Driving that constituted inattentiveness on his part, and such
inattentiveness was not reasonable and prudent in maintaining
vehicular control;

(e) Failure to keep his vehicle in the proper lane of travel;

(f) Failure to use reasonable and ordinary care under the circumstances; and

(h) Any other acts or omissions of negligence as the proof in this cause may
establish.

IV. IMPUTATION OF FAULT TO J & S EXCHANGE, INC.

lO. Plaintiff incorporates herein by reference the allegations contained in paragraph Nos.
l through 9.

ll. At the time of this collision, Virgil Wayne Grantham was acting in the course and
scope of his employment with J & S Exchange, lnc. Therefore, any acts or omissions constituting
negligence on the part of Virgil Wayne Grantham are imputed by law to Separate Defendant, J & S
Exchange, Inc.

V. DAMAGES

12. Plaintiff incorporates herein by reference the allegations contained in paragraph Nos.
l through ll.

13. As a direct and proximate result of the negligence of the Defendants, the Plaintiff
has incurred the following damages, for which he should be compensated:

(a) He has experienced, and will continue to experience, pain, suffering and
mental anguish in connection with his injuries;

(b) He has incurred, and will continue to incur, medical, hospital, physical
therapy, and pharmacy bills;

(c) He has suffered a painful, permanent and debilitating injury to the body as a

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whole;
(d) He has suffered an aggravation to any pre-existing condition;
(e) He has suffered a loss in income;

(f) He has incurred a loss in future wages, or altematively, a loss in
future earning capacity;

(g) He has suffered property damage;

(h) He has suffered scarring, disfigurement, and the visible signs of
injury; and

(i) He have each suffered any and all other elements of damage as
compensable under Texas law as the proof in this cause may establish.

l4. For all of the damages alleged in the preceding paragraph, the Plaintiff is entitled to
recover from the Defendants a sum in excess of that required to invoke federal jurisdiction in
diversity of citizenship cases.

VI. JURY DEMAND

15. Plaintiff incorporates herein by reference the allegations contained in paragraph nos.
l through 14.

16. Plaintiff invokes his right to a trial by jury pursuant to Amendment Vll of the United
States Constitution.

WHEREFORE, Plaintiff, J ames Allen McKee, prays for judgment against the Defendants,
Virgil Wayne Grantham and J & S Exchange, lnc., jointly and severally, in a total amount in
damages in excess of that required to invoke federal court jurisdiction in diversity of citizenship
cases, for a trial by jury, for their costs herein expended, for pre-judgment interest on any amount
reasonably ascertainable at the time of the loss, for post-judgment interest, and for any and all other

just and proper relief to which he may be entitled.

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Respectfully submitted,

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